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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
v.                                            )       1:21-cr-00048
                                              )
SAMMIE LEE SIAS,                              )

                           MOTION FOR EXTENSION OF TIME

       COMES NOW Defendant Sammie Lee Sias, by and through his undersigned counsel, and

files this motion requesting an extension of time for the filing of pre-trial motions until November

18, 2021. In support of this request, counsel show the Court that the government, as disclosed at

the Initial Appearance/Arraignment, provided over 600gb of data on a hard drive, much of it from

a computer or computers, necessitating a significant amount of time to analyze the data to

determine whether any pre-trial motions are warranted and to determine whether any forensic

examinations need to be completed. Government counsel indicated no opposition to the request.

       This request is not designed to delay the disposition of this case. Defendant consents to

this time being excluded from computation for any matters related to trial date requirements.

       Respectfully submitted this 18th day of August, 2021.

                                              CROWDER STEWART LLP

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                                  CERTIFICATE OF SERVICE


       This is to certify that I have this day served all the parties in this case in accordance with the

notice of electronic filing (“NEF”) which was generated as a result of electronic filing in this Court.

                                               /s/ Ken Crowder




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